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                      UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 Bohdan Makuch                                     Chapter 13
                     Debtor                        Bankruptcy No. 16-17722-MDC

Urban Financial of America, LLC, or its
Successor or Assignee
                     Movant
              vs.

William C. Miller, Esq., Trustee
Bohdan Makuch
                      Respondents
   MOTION OF URBAN FINANCIAL OF AMERICA, LLC, OR ITS SUCCESSOR OR
      ASSIGNEE FOR RELIEF FROM AUTOMATIC STAY UNDER ' 362(a)

Movant: Urban Financial of America, LLC, or its Successor or Assignee

Reverse Mortgage and Note dated October 1, 2012 and recorded in the Office of the Recorder of
Montgomery County in Mortgage Book 13451 Page 00096. A true and correct copy is attached
hereto as Exhibit “A.”

Assignment of Mortgage dated March 10, 2015 and recorded in the Office of the Recorder of
Montgomery County in Mortgage Book 13911 Page 02829. A true and correct copy is attached
hereto as Exhibit “B.”

               1.    Urban Financial of America, LLC, or its Successor or Assignee
(hereinafter "Movant") holds a claim secured by a duly recorded Mortgage on property of
Bohdan Makuch, or of the bankruptcy estate located at: 1851 Meadowbrook Road, Abington,
Pennsylvania 19001.

             2.      Bohdan Makuch (hereinafter "Debtor") filed a Petition under Chapter 13
on November 1, 2016.

             3.       As of August 21, 2017, there is no monthly payment required, as this is a
Reverse Mortgage.

             4.      As of August 21, 2017, the following is an itemized statement of the
amounts due under the mortgage loan:

               Maximum Principal Amount             $400,500.00
               Principal Balance                    $38,122.52
               Interest Accrued                     $58,063.34
               MIP                                  $14,343.62

               5.      Under the terms of the reverse mortgage, Debtor is wholly responsible for
taxes and insurance on the property. As of March 15, 2017, the movant has advance a total of
$5,424.20 in taxes, figures are broken down as follows:
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Date of Payment                   Tax Type                       Amount Advanced 
07/13/2017                        County Tax                     $5,424.20 


                   6.   Movant has not received payment for advances made and lacks protection
of its interest.

              7.       As of August 21, 2017, Movant has incurred attorney’s fees in the amount
of $850.00, and costs in the amount of $181.00 in connection with this Motion.

                 8.    Movant does not have and has not been offered adequate protection for its
interest in said premises and may be required to pay expenses for said premises in order to
preserve its lien, which is the obligation of the Debtor under said Mortgage.


      WHEREFORE, Movant prays for an order modifying the automatic stay of Bankruptcy
Code '362(a) to permit Movant to exercise applicable state court remedies with respect to the
mortgage property and for such relief as this Court deems necessary and appropriate.

                                      /s/ Ann E. Swartz
                                      ANN E. SWARTZ, ESQUIRE, I.D. # 201926
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